                         THE Document
  Case 1:22-cv-00706-LMB-WEF HMA LAW  1-4 FIRM    PLLC Page 1 of 1 PageID# 21
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March17, 2022
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U.S. Citizenship and Immigration Services                                                                  Of Counsel
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Washington Field Office                                                                             Alexa August (MD)
                                                                                                      Omar Baloch (NC)
2675 Prosperity Avenue                                                                         Humza Kazmi (MD, DC)
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Fairfax, VA 20598


RE:    Form N-400, Application for Naturalization
       Form N-336, Request for a Hearing on a Decision in Naturalization
       Applicant: Mazin Mohammad BADAWI
       Alien No.: 0 8 8-5 5 2-2 2 8
       Notice Receipt No. IOE0909771206


Respected Officer,

        Our firm has been retained by Mr. Mazin Mohammad Badawi, a lawful Permanent Resident, in
filing for N-400 NOID Response.

       Our client filed for an application for Naturalization on May 17, 2017. Such application was
denied on September 1, 2020 and immediately a N-336 was filed which was then received by your Office
on September 25, 2020 as per the USCIS receipt notice with Receipt No. IOE0909771206.
Consequently, a hearing on such proceeding was held on June 3, 2021.

       Up to this date, or seventeen (17) months after the N-336 was filed and received by your office,
and despite of the hearing already conducted, you have not issued any notice nor decision regarding the
aforementioned case. We are taking into consideration of filing a Writ of Mandamus but as a courtesy,
we would like to seek first for an update from you.

       In view thereof, please provide us with notice of the current status of our client’s application for
Naturalization. Otherwise, we may proceed with filing the said writ.

       For your reference, attached below are the copy of the following:

       1. N-336 Receipt Notice
       2. N-336 Interview Notice
       3. Sworn Statement of Mazin Badawi during N-336 hearing, duly signed by him and the USCIS
          Officer.




                                                                Sincerely,


                                                                 ________________________
                                                                 Hassan Ahmad
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